            Case 1:22-cv-10754-ADB Document 1 Filed 05/16/22 Page 1 of 6




KAUFMAN DOLOWICH & VOLUCK, LLP
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Court Plaza North
25 Main Street, Suite 500
Hackensack, New Jersey 07601
Tel: (201) 488 6655
Fax: (201) 488-6652
Attorneys for Defendant,
Seastreak, LLC

                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


RICHARD NOPPER,

                      Plaintiff,
                                                                 Docket No:
  v.
                                                         NOTICE OF REMOVAL
SEASTREAK, LLC,

                     Defendant.


       PLEASE TAKE NOTICE

a Delaware Limited Liability Company, by and through its attorneys, Kaufman Dolowich &

Voluck, LLP, hereby removes the above-captioned action from the Superior Court of

Massachusetts for Bristol County, to the United States District Court for the District of

Massachusetts.

       Removal to this Court is proper under 28 U.S.C. §§ 1441 and 1446, and 28 U.S.C. §

1332(a)(1), on the basis of diversity jurisdiction. Removal is based on the following grounds:

       1.      Plaintiff filed his Complaint against Defendant on or about January 26, 2022.

Attached hereto as Exhibit A

Defendant or have been filed with the Superior Court of Massachusetts for Bristol County.


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        2.      Service was completed upon Defendant on or about May 2, 2022.

        3.      Because thirty (30) days have not yet expired since this action became removable

to this Court, this removal is timely under 28 U.S.C. § 1446(b).

        4.      The United States District Court for the District of Massachusetts has original

subject matter jurisdiction over this matter because Plaintiff s Complaint against Defendant falls



        5.      The citizenship of the parties in this matter is completely diverse.

        6.      Plaintiff pleaded in the Complaint that he is a citizen of the State of Pennsylvania,

with a mailing address of P.O. Box 27, Chester Springs, Pennsylvania 19425. (See Ex. A).

        7.      Defendant, Seastreak, LLC, is a Delaware Limited Liability Company with its

principal place of business at 2 First Avenue, Atlantic Highlands, New Jersey 07716. Defendant

sole member is Seastreak Holding Company, LLC, a Delaware Limited Liability Company with a

principal place of business at 2 First Avenue, Atlantic Highlands, New Jersey 07716. Accordingly,

defendant SeaStreak, LLC is a citizen of New Jersey and Delaware.

        8.      Defendant is also entitled to removal of this action because the amount in

controversy requirement of 28 U.S.C. § 1332(a) is met. Based on the damages and accompanying

allegations in this instant action, Defendant has a good-faith belief that the amount in controversy,

exclusive of interest and costs, exceeds $75,000.00. This matter involves the claim of

personal injuries to plaintiff, Richard Nopper, sustained on November 15, 2020, while aboard a

ferry allegedly operated by Seastreak, LLC. Plaintiff claims to have sustained a right shoulder

rotator cuff tear, requiring surgical intervention.

of $32,154.00 in damages for medical expenses already received, and with the value of lost wages,

future medical and hospital expenses, and other damages still to be determined. Given plaintiff has


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pleaded that he suffered great physical and mental pain, incurring great expenses, and still to incur

future expenses related to the accident, Defendant has a good-faith belief that the amount in

controversy in this lawsuit exceeds $75,000.00.

       9.      Upon the filing of this Notice of Removal, Defendant will serve written notice of

the filing of this Notice of Removal upon Plaintiff and will cause a copy of this Notice to be filed

with the Clerk of the Superior Court of Massachusetts for Bristol County, in accordance with 28

U.S.C. § 1446(d).

       10.     Defendant reserves the right to amend or supplement this Notice of Removal.

       WHEREFORE, Defendant, Seastreak, LLC requests that the above-entitled action be

removed from the Superior Court of Massachusetts for Bristol County, to the United States District

Court for the District of Massachusetts.



Dated: May 16, 2022                            KAUFMAN DOLOWICK & VOLUCK, LLP
                                               Attorneys for Defendant, Seastreak, LLC



                                               By: _____________________________________
                                                      Gino A. Zonghetti, Esq. (BBO #: 663120)
                                                      25 Main Street, Suite 500
                                                      Hackensack, New Jersey 07601
                                                      (201) 708-8240
                                                      gzonghetti@kdvlaw.com


To:            United States District Court,
               District of Massachusetts
               Office of the Clerk
               1 Courthouse Way
               Boston, Massachusetts 02210

               The Superior Court of Massachusetts
               Bristol County Superior Court
               Clerk of Court
               441 County Street, First Floor
                                                  3
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   New Bedford, Massachusetts 02740

   Brian R. Cunha, Esq.
   BRIAN CUNHA & ASSOCIATES, P.C.
   Attorneys for Plaintiff, Richard Nopper
   311 Pine Street
   Fall River, MA 02720




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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


RICHARD NOPPER,
                                                                  Docket No.:
                      Plaintiff,
                                                     CERTIFICATION OF SERVICE
  v.

SEASTREAK, LLC,

                      Defendant.

       I, Gino A. Zonghetti, Esq., hereby certify that on May 16, 2022, I caused a copy of the

Notice of Removal, on behalf of Defendant Seastreak, LLC, to be filed electronically with the

Clerk of Court for the United States District Court for the District of Massachusetts and the Clerk

of Court for the Superior Court of Massachusetts for Bristol County, with copies served

electronically and by regular mail on Counsel and parties listed below:

                                      Brian R. Cunha, Esq.
                            BRIAN CUNHA & ASSOCIATES, P.C.
                             Attorneys for Plaintiff, Richard Nopper
                                         311 Pine Street
                                     Fall River, MA 02720


Dated: May 16, 2022                          KAUFMAN DOLOWICK & VOLUCK, LLP
                                             Attorneys for Defendant, Seastreak, LLC



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                                         By: _____________________________________
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                                                gzonghetti@kdvlaw.com

To:      United States District Court,
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         Clerk of Court
         441 County Street, First Floor
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